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               Case 4:14-cv-00094-NBF Document 60 Filed 07/14/14 Page 1 of L

                           IN THE UNITED STATES DISTRlCT COURT
                        FOR THE WESTERN D1STRICT OF PENNSYLVANIA


PINE INSTRUMENT COMPANY and                   ) Docket No. 2: 14-cv-00094-NBF
PINE TEST EQl.PPMENT, LLC,                    )
                                              ) (Assigned to Judge Nora Barry Fischfr)
                   PIt·intiffs                )
                                              )
                                              )

CONT:~LS
GORDON
                  US . , INC. and
                BAK~R,
                                              )
                                              )
                                              )
                                              )
                                              )


         STIPUL         ION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P,                     41
                              AS TO CONTROLS USA, INC.: ONLY


         The Plain1iffs, Pine Instrument Company and Pine Test Equipment, LLC ard the

Defendant, contrrs USA, Inc., through their undersigned cotmsel, he:reby stipulate that t1(:

above-caption action be dismissed, with prejudice, as to the claims against Control<; USA Inc.

only. Each side t¢ bear its own costs and attorneys' fees.

                                     Respectfully submitted,


MILLER & MARTIN, PLLC                             KNOX McLAUGHLIN GORNALL &
                                                  SENNETT, P.C.

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                                                             Attomeys for Plaintiffs,
          Attorneys or Defendant,                            Pine Instrument Compan)· anc
          Controls SA, Inc.                                  Pine Test Equipment, LLC

# 1499666.vl                                                      AND NOW,    this-LIt~_...._
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                                                                  day of   J d-z ,_ ~:o..Lt--,
                                                             Af) IS SO ~ERelT ~~
                                                     /          i~~~~s~~~' JUDG ~
